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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

  AMERICAN GENERAL LIFE
  INSURANCE COMPANY,

                 Plaintiff,

         v.                                                     C.A. No. 22-1092-GBW

  WILMINGTON TRUST,
  NATIONAL ASSOCIATION,

                 Defendant.

  WILMINGTON TRUST,
  NATIONAL ASSOCIATION,

                 Defendant/Counter-Plaintiff,

         v.

  AMERICAN GENERAL LIFE
  INSURANCE COMPANY,

                 Plaintiff/Counter-Defendant.

              STIPULATION AND [PROPOSED] ORDER TO EXTEND TIME
                           FOR BRIEFING DEADLINES

        WHEREAS, on April 11, 2025, defendant Wilmington Trust National Association

 (“Defendant”) filed a Motion for Partial Summary Judgment on Counts I and II of the

 Counterclaims to the First Amended Complaint (D.I. 74) along with its opening brief in support

 thereof (D.I. 75), and a Motion to Exclude Testimony and Report of Jim Toole (D.I. 78) along

 with its opening brief in support thereof (D.I. 79);

        WHEREAS, on April 25, 2025, plaintiff American General Life Insurance Company

 (“Plaintiff”) filed its Answering Brief in Opposition to Defendant/Counter-Claim Plaintiff’s

 Motion for Partial Summary Judgment on Counts I and II of the Counterclaims to the First

 Amended Complaint (D.I. 84), its Answering Brief in Opposition to Defendant/Counter-Claim
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 Plaintiff’s Motion to Exclude Testimony and Report of Jim Toole (D.I. 86), and a Motion to Strike

 Declaration of Scott Willkomm (D.I. 87); and

         WHEREAS, the parties have agreed to a seven-day extension for Defendant to file its reply

 brief in support of its Motion for Partial Summary Judgment on Counts I and II of the

 Counterclaims to the First Amended Complaint, its reply brief in support of its Motion to Exclude

 Testimony and Report of Jim Toole and its opposition to Plaintiff’s Motion to Strike Declaration

 of Scott Willkomm;

         IT IS HEREBY STIPULATED AND AGREED by Plaintiff and Defendant subject to the

 approval of the Court, that:

         1.     Defendant shall file its reply brief in support of Motion for Partial Summary

 Judgment on Counts I and II of the Counterclaims to the First Amended Complaint on May 9,

 2025.

         2.     Defendant shall file its reply brief in support of Motion to Exclude Testimony and

 Report of Jim Toole on May 9, 2025.

         3.     Defendant shall file its opposition to Plaintiff’s Motion to Strike Declaration of

 Scott Willkomm on May 9, 2025.

         4.     Plaintiff shall file its reply in support of Motion to Strike Declaration of Scott

 Willkomm on May 20, 2025.




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  Dated: April 29, 2025

  BELLEW LLC                                    K&L GATES LLP

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                                                Counsel for Defendant


 SO ORDERED this ____ day of ___________________, 2025.



                                        ________________________________________
                                        UNITED STATES DISTRICT JUDGE




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